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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        JAMIE SKINNER,
                                   7                                                          Case No. 12-cv-03834-JCS
                                                        Plaintiff.
                                   8
                                                 v.                                           ORDER OF DISMISSAL
                                   9
                                        GREEN TREE SERVICING LLC,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The Court having been advised that the parties have agreed to a settlement of this case,

                                  14           IT IS HEREBY ORDERED that this case is dismissed in its entirety with prejudice;

                                  15   provided, however, that if any party hereto shall certify to this Court, within sixty (60)days, with

                                  16   proof of service of a copy thereon to opposing counsel, that the agreed consideration for said

                                  17   settlement has not been delivered over, the foregoing Order shall stand vacated and this case shall

                                  18   forthwith be restored to the calendar to be set for trial.

                                  19           IT IS SO ORDERED.

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                                  21   Dated: March 14, 2013

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                                                                                          Joseph C. Spero
                                  23                                                      United States Magistrate Judge
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